          Case 1:21-cv-03229-WMR Document 1 Filed 08/09/21 Page 1 of 10




                    THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

HENRY JACKSON,                                  )
                                                )   Civil Action
     Plaintiff,                                 )   No.
v.                                              )
                                                )
MID-GEORGIA TRUCKING                            )   JURY TRIAL DEMANDED
COMPANY,                                        )
                                                )
     Defendant.                                 )
                                                )
_________________________________


                      FIRST COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Henry Jackson (“Plaintiff”), through undersigned

counsel, and files this action against Defendant Mid-Georgia Trucking Company

(“Defendant”) and for his Complaint shows the following:

                             I.    Nature of Complaint

                                           1.

        Plaintiff brings this action to obtain full and complete relief and to redress

the unlawful employment practices described herein.

                                           2.

        Plaintiff seeks declaratory relief, liquidated and actual damages, along with

attorney’s fees and costs, for Defendant’s failure to pay federally mandated
        Case 1:21-cv-03229-WMR Document 1 Filed 08/09/21 Page 2 of 10




minimum wages to Plaintiff in violation of the Fair Labor Standards Act of 1938,

as amended, 29 U.S.C. §201 et seq. (hereinafter the “FLSA”), as enforced by the

Emergency Paid Sick Leave Act (“EPSLA”) and Families First Coronavirus

Response Act (“FFCRA”). Plaintiff also seeks damages, attorney’s fees and costs

under the FLSA for Defendant’s unlawful retaliation against him. Plaintiff also

brings interference and retaliation claims pursuant to the Family Medical Leave

Act (“FMLA”), as enforced by the Emergency Family and Medical Leave

Expansion Act (“EFMLEA”) and FFCRA.

                            II.    Jurisdiction and Venue

                                                3.

      The jurisdiction of this Court is invoked pursuant to 29 U.S.C. § 216(b) and

28 U.S.C. § 1331.

                                                4.

      Defendant is a Georgia business and resides in this district. Defendant does

business in and is engaged in commerce in the State of Georgia. Venue is proper in

this district pursuant to 29 U.S.C. § 1391(b) because Defendants resides in this

district and a substantial part of the events and omissions that give rise to

Plaintiff’s claims occurred in this district.




                                            2
        Case 1:21-cv-03229-WMR Document 1 Filed 08/09/21 Page 3 of 10




                              III.   Parties and Facts

                                           5.

      Plaintiff began working for Defendant in February 2018 as a truck driver.

                                           6.

      Plaintiff was an “employee” of Defendant, as that term has been defined by

the FLSA.

                                           7.

      On or about July 14, 2020, Plaintiff tested positive for COVID-19, and

Plaintiff’s primary care physician advised Plaintiff to self-quarantine.

                                           8.

      On or about July 17, 2020, Plaintiff notified Defendant’s owner, Scott Baize,

that he had tested positive for COVID-19 and could not work for two weeks as he

needed to quarantine.

                                           9.

      Mr. Baize immediately terminated Plaintiff’s employment, stating “my

trucks need to keep running.”




                                          3
       Case 1:21-cv-03229-WMR Document 1 Filed 08/09/21 Page 4 of 10




                                         10.

      At all times material to this Complaint, Defendant was a covered employer

under the FFCRA because Defendant has been a private employer and has had

fewer than five hundred (500) employees.

                                         11.

      Plaintiff was an employee under the FFCRA eligible for paid sick leave and

paid leave due to his COVID-19 diagnosis and need to quarantine.

                                         12.

      Defendant’s termination of Plaintiff violated the FFCRA and the provisions

of the FLSA incorporated by the FFCRA.

                                         13.

      In terminating Plaintiff’s employment and failing to provide Plaintiff with

leave, Defendant violated the FLSA’s minimum wage provisions and retaliated

against Plaintiff in violation of the FLSA, as incorporated by the FFCRA.

                                         14.

      Any reason given for Plaintiff’s termination is pretext for unlawful

violations of the FFCRA.




                                        4
          Case 1:21-cv-03229-WMR Document 1 Filed 08/09/21 Page 5 of 10




                                          15.

      As a result of Defendant’s actions, Plaintiff has suffered damages, including

lost wages and emotional distress.

                                     Count I

                Violation of the Minimum Wage Requirement of the
                              Fair Labor Standards Act

                                          16.

      Plaintiff repeats and re-alleges the preceding paragraphs as if set forth fully

herein.

                                          17.

      Under the EPSLA, an employer shall provide to each employee paid sick

time to the extent that the employee is unable to work due to a need for leave

because the employee has been advised by a health care provider to self-quarantine

due to concerns related to COVID-19.

                                          18.

      Under the EPSLA, employers who fail to provide paid sick leave as required

are considered to have failed to pay minimum wages in violation of the FLSA, 29

U.S.C. § 206.




                                         5
       Case 1:21-cv-03229-WMR Document 1 Filed 08/09/21 Page 6 of 10




                                          19.

      Defendant has violated the minimum wage provisions of the FLSA by

failing to provide Plaintiff with two weeks of paid leave when he tested positive

for COVID-19 and was unable to work.

                                          20.

      Defendant knew or had reason to know that it was violating the EPSLA and

FLSA in terminating Plaintiff’s employment and failing to provide Plaintiff with

two weeks of paid leave.

                                          21.

      Defendant knew or showed reckless disregard for the fact that Defendant

failed to pay Plaintiff minimum wage compensation in violation of the FLSA.

                                          22.

      Pursuant to the EPSLA, Defendant’s violation of the EPSLA is subject to

the penalties described in the FLSA, 29 U.S.C. §§ 216 and 217. Accordingly,

Plaintiff is entitled to recover the unpaid minimum wages, liquidated damages in

an equal amount to unpaid overtime, attorneys’ fees, and the costs of this litigation

incurred in connection with this claim.




                                          6
          Case 1:21-cv-03229-WMR Document 1 Filed 08/09/21 Page 7 of 10




                                     Count II

                        Violation of 29 U.S.C. § 215(a)(3)
                               (FLSA Retaliation)

                                          23.

      Plaintiff repeats and re-alleges the preceding paragraphs as if set forth fully

herein.

                                          24.

      Under the EPSLA, an employer shall provide to each employee paid sick

time to the extent that the employee is unable to work due to a need for leave

because the employee has been advised by a health care provider to self-quarantine

due to concerns related to COVID-19.

                                          25.

      Defendant terminated Plaintiff’s employment because he sought leave to

which he was entitled under the EPSLA and FLSA.

                                          26.

      Defendant’s actions, policies and/or practices as described above violate the

EPSLA and FLSA’s anti-retaliation provisions.




                                         7
          Case 1:21-cv-03229-WMR Document 1 Filed 08/09/21 Page 8 of 10




                                            27.

         Defendant knew or showed reckless disregard for the fact its conduct

violated the EPSLA and FLSA, and Defendant acted with malice or with reckless

indifference to Plaintiff’s federally protected rights.

                                            28.

         Defendant’s violations of the EPSLA and FLSA were willful and in bad

faith.

                                            29.

         Plaintiff engaged in statutorily protected activity under the EPSLA and

FLSA.

                                            30.

         Plaintiff’s statutorily protected activity was the determinative factor in

Defendant’s decision to terminate Plaintiff.

                                            31.

         As a direct and proximate result of the retaliation, Plaintiff has sustained

damages, including lost wages and emotional distress, for which he is entitled to

recover from Defendant.

                                            32.

         Pursuant to the FLSA, 29 U.S.C. § 215(a)(3), Plaintiff is entitled to recover

                                           8
        Case 1:21-cv-03229-WMR Document 1 Filed 08/09/21 Page 9 of 10




actual and liquidated damages, as well as compensatory damages, attorneys’ fees,

and the costs of this litigation incurred in connection with these claims.

      WHEREFORE, Plaintiff judgment as follows:

      (a)           Special damages and/or liquidated damages for unpaid and lost

                    wages and benefits and prejudgment interest thereon;

      (b)           Compensatory damages, including emotional distress damages

                    solely as to Plaintiff’s EPSLA/FLSA retaliation claim;

      (c)           Reasonable attorney’s fees and expenses of litigation;

      (d)           Trial by jury as to all issues so triable;

      (e)           Prejudgment interest at the rate allowed by law;

      (f)           Declaratory relief to the effect that Defendant has violated

                    Plaintiff’s statutory rights;

      (g)           All equitable relief available under the FLSA, including

                    injunctive relief of reinstatement, or front pay in lieu thereof,

                    and prohibiting Defendant from further unlawful conduct of the

                    type described herein; and

      (h)           All other relief to which he may be entitled.




                                            9
      Case 1:21-cv-03229-WMR Document 1 Filed 08/09/21 Page 10 of 10




     This 9th day of August, 2021.
                                     BARRETT & FARAHANY

                                     /s/ V. Severin Roberts
                                     V. Severin Roberts
                                     Georgia Bar No. 940504
                                     Attorney for Plaintiff

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